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ColonelTPerez (Ret) - @ColonelOO7
lday ago - @ 60926

Today, January 6, 2021, We Patriots by the
millions, have arrived in Washington, D.C.,
carrying banners of support for the
greatest President the world has ever
known.

Bit if We must...

Many of Us will return on January 19, 2021,
carrying Our weapons, in support of Our
nation's resolve, towhich the world will
never forget!!!

We will come in numbers that no
standing army or police agency can
match. However, the police are NOT Our
enemy, unless they choose to be!

All who will not stand with the American
Patriots... or who cannot stand with Us..
then, that would be a good time for YOU
to take a few vacation days.

The American Patriot
2 184 & 449 gs 1044

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# a

ColonelTPerez (Ret) - @Colonel007
ldayago- @ 66155

Today Eric Trump said that he would
physically fight with the Patriots to save
Our country. Today Representative Mo
Brooks, asked the Patriots to pledge Our
live and wealth to fight for Our country.
And today President Trump told Us to
"Fight like hell". He said that Our cause
was a matter of national security, and
that these people behind the massive
fraud must be arrested and brought to
justice. And that task, falls on the
shoulders of We The People.... the
American Patriots.

So over the next 24 hours, | would say,
lets get our personal affairs in order.
Prepare Our weapons, and then go
get'em. Lets hunt these cowards down
like the Traitors that each of them are.
This includes, RINOS, Dems, and Tech
Execs. We now have the green light. [All]
who resist Us, are enemies of Our
Constitution, and must be treated as
such.

Today, the cowards ran as We took the
Capital. They have it back now, only
because We left. It wasn't the building
that We wanted... it was them!

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